
382 N.E.2d 983 (1978)
Marvin HUTCHERSON, Appellant (Defendant below),
v.
STATE of Indiana, Appellee (Plaintiff below).
No. 2-1076A384.
Court of Appeals of Indiana, Fourth District.
November 22, 1978.
Lawrence O. Sells, Indianapolis, for appellant.
Theodore L. Sendak, Atty. Gen., Terry G. Duga, Deputy Atty. Gen., Indianapolis, for appellee.
YOUNG, Judge.

ON PETITION FOR REHEARING
The State petitions for rehearing on the ground that a new question of law was erroneously decided, namely in construing I.C. 1971, 35-24.1-4.1-6(b) (Burns Code Ed.) as referring to heroin, and not a substance containing heroin. It is our duty to construe criminal statutes strictly against the State and in favor of the accused. Utley v. State, (1972) 258 Ind. 443, 281 N.E.2d 888; Coleman v. State, (1970) 253 Ind. 627, 256 N.E.2d 389. This rule of strict construction means that criminal statutes "will not be enlarged by implication or intendment beyond the fair meaning of the language used, and will not be held to include offenses and persons other than those which are clearly described and provided for... ." Kelley v. State, (1954) 233 Ind. 294, 298, 119 N.E.2d 322, 324.
Petition for Rehearing denied.
LYBROOK, P.J. (sitting by designation), and ROBERTSON, J. (sitting by designation), concur.
